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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VOLKSWAGEN GROUP OF AMERICA,
INC.,                                                 Case No. 19-cv-04354
               Plaintiff,                             Judge Matthew F. Kennelly
v.                                                    Magistrate Judge Gabriel Fuentes
SIDIFFAUTO, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on August 28, 2019 [48], in favor

of Plaintiff Volkswagen Group of America, Inc. (“Plaintiff”) and against the Defendants Identified

in Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting Defendant

for willful use of counterfeit Plaintiff’s Trademarks on products sold through at least the Defendant

Internet Stores, and Plaintiff acknowledges payment of an agreed upon damages amount, costs,

and interest and desires to release this judgment and hereby fully and completely satisfies the same

as to the following Defendants:

               Defendant Name                                           Line No.
                  FranklinFu                                               98
                guangzhouajun                                             103
                   lixinyue                                               110
                      Los                                                 112
           pingyangcaifabiaopaichang                                      116

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 17th day of April 2020.   Respectfully submitted,


                                     /s/ Allyson M. Martin____________
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                                     Justin R. Gaudio
                                     Allyson M. Martin
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                                     America, Inc.




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